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 6

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 8

 9                              United States District Court
                              Eastern District of Washington
10                         Before the Hon. Salvador Mendoza, Jr.
11
     United States of America,
12                                                No. 4:19-CR-6049-SMJ-1
                                    Plaintiff,
13
                                                  Defendant Castillo’s Motion in Limine
14   v.
15                                                April 2, 2019 at 9:30 AM
16   Ivan Renteria Castillo.                      With oral argument

17                                Defendant.
18

19

20                                  A. Relief Requested

21         Defendant Ivan Renteria Castillo moves the Court for an order requiring the
22
     Government to refrain from mentioning—by reading the Indictment, during jury
23
     selection, in opening statement, or closing argument— and to refrain from
24

25   offering into evidence or soliciting any testimony from any witness, regarding any


     Defendant Castillo’s Motion in Limine- 1
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     prior alleged activities of the Defendant, criminal or otherwise, prior to his return
 1

 2   to the United States in June of 2019.
 3                                   B. Factual Statement
 4
       The government has set forth numerous allegations related to Mr. Castillo's
 5

 6
     activities.   These activities can be neatly divided into two periods, those which

 7   occurred prior to June of 2019, where the government alleges that Mr. Castillo
 8
     was in Grant County Washington and Nampa, Idaho, and then later in Mexico,
 9
     and those which occurred subsequent to June of 2019, when the government
10

11   alleges that Mr. Castillo returned to the United States and was in California,

12   Oregon, and Washington.
13
       Notably, the specific facts upon which the government's criminal charges rest
14
     occurred after his return to the United States in June of 2019. The government
15

16   has not charged Mr. Castillo with any crimes related to Mr. Castillo's alleged

17   activities prior to June of 2019, either in Mexico or in the United States.
18
       Nevertheless, the government has set forth numerous allegations related to Mr.
19
     Castillo's activities prior to his return to the United States in 2019 in its affidavit
20

21   in support of criminal complaint, ECF 1-1 and in various applications for warrants
22   filed by the government. The specific allegations of Mr. Castillo's activities set
23
     forth by the government include the following:
24

25



     Defendant Castillo’s Motion in Limine- 2
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     a)    In October 2018 Alice Rodgers of the Southeast Washington Safe Streets
 1

 2   Task Force (SEWSSTF) began investigating Mr. Castillo.
 3   b)    In October 2018 a Confidential Human Source (CHS) allegedly provided
 4
     information that Mr. Castillo had offered the CHS kilo quantities of cocaine and
 5

 6
     methamphetamine, and Mr. Castillo allegedly showed the CHS a kilo of cocaine.

 7   c)    On November 13 2018 (218-mj-00321-JTR) and December 20 2018 (218-
 8
     mj-00385-JTR) SEWSSTF applied for and was granted GPS tracking warrants
 9
     authorized by United States Magistrate Judge John T Rodgers.
10

11   d)    During December 2018 and January 2019 SEWSSTF tracked Mr. Castillo

12   in the Eastern District of Washington and the District of Idaho.
13
     e)    On January 8 2019 Mr. Castillo was tracked to the Nampa, Idaho area
14
     where Mr. Castillo was observed entering a residential property that was the
15

16   target of a local drug investigation. Mr. Castillo was allegedly observed taking

17   two plastic grocery bags into the residence. Mr. Castillo was contacted and
18
     detained by Immigration and Customs Enforcement ICE for Mr. Castillo's
19
     immigration status.
20

21   f) At some juncture, Alice Rodgers contacted TFO Ryan Bonner Treasure Valley
22   Metro Violent Crimes Task Force (TVMVCTF) in the Nampa Boise Idaho area to
23
     attempt to locate Mr. Castillo.
24

25



     Defendant Castillo’s Motion in Limine- 3
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     g)       TFO Bonner informed Ms. Rodgers of the following: that Mr. Castillo was
 1

 2   in the Nampa Idaho area driving a green Toyota Carmy bearing Washington
 3   license BKC2715. That members of the TVMVCTF observed Mr. Castillo
 4
     entering 11819 West Huckleberry Dr., Nampa ID. That this residence was a target
 5

 6
     residence in a local drug investigation. That Mr. Castillo was photographed

 7   carrying two filled plastic grocery bags into the residence. That shortly after
 8
     observing Mr. Castillo enter into the residence with the bags, members of the
 9
     TVMVCTF observed Mr. Castillo exiting the residence and entering the Toyota
10

11   Camry. That Caldwell ID Police Department officers initiated a traffic stop and

12   confirmed it was Mr. Castillo from a Mexican identification card.       Mr. Castillo
13
     consented to a search of his pockets and was in possession of $6,759.00 in US
14
     Currency.
15

16   h)       According to the TVMVCTF reports supplied to Ms. Rodgers, a K9 was

17   applied to the outside of the vehicle and indicated a positive alert for the odor of
18
     narcotics Mr. Castillo consented to the search of the vehicle Officers located a
19
     digital scale in the driver side door panel Officer also noted numerous loose
20

21   panels in the car that led to empty compartments. Notably, no drugs were located
22   i)       Mr. Castillo was then detained by US Immigration and Customs
23
     Enforcement relating to Mr. Castillo's immigration status. On January 15 2019
24

25   Mr. Castillo was indicted in the District of Idaho 19-mj-10324-CVVD for being a


     Defendant Castillo’s Motion in Limine- 4
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     Deported Alien Found in the United States. On April 5 2019 Mr. Castillo was
 1

 2   sentenced to credit for time served with no supervised release. Mr. Castillo was
 3   subsequently removed to Mexico on April 12 2019.
 4
     j)       On January 10 2019 a Cooperating Defendant (CD1) provided information
 5

 6
     that the CD1 was present at the Nampa Idaho area target residence when a

 7   Hispanic male that only spoke Spanish arrived from out of state and dropped off
 8
     two plastic grocery bags that CD1 “believed” each contained four pounds of
 9
     methamphetamine.
10

11   k)       In January 2019 TFO Ryan Bonner reported to Ms. Rodgers that he

12   interviewed CD1. CD1 was the occupant of a vehicle that was stopped by law
13
     enforcement on January 8 2019 leaving the aforementioned address of 11819
14
     West Huckleberry Dr Nampa ID. CD1 represented he was present at 11819
15

16   Huckleberry Dr Nampa ID on January 8 2019 and was allegedly aware of an

17   individual from out of state who arrived at that address although CD1 stated he
18
     was not allowed to be present in the same room. Despite the fact that CD1 was
19
     not allowed to be present in the same room, CD1 allegedly stated the out of state
20

21   person was allegedly there to deliver a large amount of methamphetamine and
22   described that this person brought in two bags which allegedly contained
23
     approximately four pounds of methamphetamine in each bag. CD1 further
24

25   described this out of state person as allegedly only speaking Spanish. CD1 was


     Defendant Castillo’s Motion in Limine- 5
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     shown a photo of Ivan Mr. Castillo. Importantly, CD1 was unsure if that was the
 1

 2   same person who arrived at the residence.
 3   l)       Mr. Castillo was never charged with any crime related to the alleged
 4
     methamphetamine in Idaho.
 5

 6
     m)       On January 15, 2019, Mr. Castillo was indicted for being a Deported Alien

 7   found in the United States, and on April 12, 2019, Mr. Castillo was removed to
 8
     Mexico.
 9
     n)       In August of 2019, the government allegedly tracked Mr. Castillo's
10

11   movements from Orland, California to Mesa Washington, where law enforcement

12   officers allegedly located over 500 grams of methamphetamine in a white 2014
13
     Kia Optima in which Mr. Castillo was allegedly traveling with two other
14
     individuals.
15

16   o)       Mr. Castillo was then charged with possession with intent to distribute the

17   over 500 grams of methamphetamine found in the white Kia Optima.
18

19
                                          C. Authority
20

21        Defendant's motion is based on FRE 403, FRE 404(b)(1), FRE 602, and FRE
22   802.
23
          FRE 403. “Excluding Relevant Evidence for Prejudice, Confusion, Waste of
24

25   Time, or Other Reasons” states:


     Defendant Castillo’s Motion in Limine- 6
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           The court may exclude relevant evidence if its probative value is
 1
           substantially outweighed by a danger of one or more of the following:
 2         unfair prejudice, confusing the issues, misleading the jury, undue delay,
           wasting time, or needlessly presenting cumulative evidence.
 3

 4     FRE 404 (b) “Crimes, Wrongs, or Other Acts” states:

 5         Prohibited Uses. Evidence of a crime, wrong, or other act is not admissible
 6
           to prove a person’s character in order to show that on a particular occasion
           the person acted in accordance with the character.
 7
       FRE 602. “Need for Personal Knowledge” states:
 8

 9         A witness may testify to a matter only if evidence is introduced sufficient
           to support a finding that the witness has personal knowledge of the matter.
10         Evidence to prove personal knowledge may consist of the witness’s own
11         testimony. This rule does not apply to a witness’s expert testimony under
           Rule 703.
12

13
       FRE 802 “The Rule Against Hearsay” states:

14         Hearsay is not admissible unless any of the following provides otherwise:
           a federal statute;
15
           these rules; or
16         other rules prescribed by the Supreme Court.

17

18                                       D. Analysis

19     FRE 403 provides that the court may exclude relevant evidence if its probative
20
     value is substantially outweighed by, among other things, a danger of unfair
21
     prejudice, confusing the issues, and misleading the jury. All events prior to June
22

23   of 2019 create a danger of unfair prejudice, confusing the issues, and potentially

24   misleading the jury. Mr. Castillo is not on trial for the alleged possession of
25
     cocaine in Moses Lake in 2018, nor has the government alleged that such

     Defendant Castillo’s Motion in Limine- 7
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     possession is related to the question of whether Mr. Castillo possessed
 1

 2   methamphetamine in August of 2019. Similarly, Mr. Castillo is not on trial for
 3   alleged possession and delivery of methamphetamine in Nampa Idaho in January
 4
     of 2019, nor has the government alleged that this allegation is relevant to the
 5

 6
     question of whether Mr. Castillo possessed methamphetamine in August of 2019.

 7   Finally, Mr. Castillo's conviction for being a Deported Alien found in the United
 8
     States in April of 2019 is not logically related to the current charge of possessing
 9
     methamphetamine in August of 2019.
10

11     Testimonial or other evidence of any of these matters therefore adds nothing to

12   the question of whether Mr. Castillo is guilty of the acts that form the basis of the
13
     government's indictment, all of which allegedly occurred in August of 2019.
14
     Testimonial or other evidence of any of these matters would thus serve only to
15

16   invite the jury to punish Mr. Castillo for these prior acts, or to infer that these

17   prior acts should be considered in determining Mr. Castillo's innocence or guilt.
18
     thereby confusing the legal significance of these prior acts with the government's
19
     ability to prove the current allegations, and misleading the jury into assuming that
20

21   these prior acts somehow relate to the facts the government must prove to
22   establish the alleged acts occurring in August of 2019.
23
       A similar analysis applies under FRE 404 (b) “Crimes, Wrongs, or Other Acts.”
24

25   The government is prohibited from introducing evidence of a crime, wrong, or


     Defendant Castillo’s Motion in Limine- 8
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     other act to prove a person’s character in order to show that on a particular
 1

 2   occasion the person acted in accordance with the character.         None of Mr.
 3   Castillo's alleged possession of cocaine in Moses Lake in 2018,           alleged
 4
     possession and delivery of methamphetamine in Nampa Idaho in January of 2019,
 5

 6
     and his conviction for being a Deported Alien found in the United States in April

 7   of 2019, are related to the current charge that Mr. Castillo possessed
 8
     methamphetamine in August of 2019. Instead, they are classic “bad acts” that are
 9
     prohibited under the plain language of FRE 404 (b).
10

11     FRE 602. “Need for Personal Knowledge” requires that a witness may testify

12   only if the witness has personal knowledge of the matter. The government is
13
     relying on second hand information to establish most of the acts that occurred in
14
     Moses Lake and Idaho, prior to June of 2019. Certainly, no law enforcement
15

16   officer should be permitted to testify about what another law enforcement agent

17   and/or a confidential source told them, as is the case with Mr. Castillo's alleged
18
     possession of cocaine in Moses Lake. With respect to the alleged delivery of
19
     methamphetamine in Idaho, the government's own description of the
20

21   government's confidential source makes plain that the confidential source was
22   “not in the room” when the alleged methamphetamine was allegedly delivered,
23
     and the confidential informant could not positively identify Mr. Castillo. By the
24

25   government's own admission, the government's confidential source therefore


     Defendant Castillo’s Motion in Limine- 9
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     lacked first hand knowledge not just of Mr. Castillo, but also of the delivery, or
 1

 2   even the existence, of the methamphetamine in Idaho, and the government has
 3   failed to identify a single witness who possesses such first hand knowledge.
 4
       In a similar vein, the government's criminal complaint, ECF 1-1, relies heavily
 5

 6
     on the affiant's repetition of statements made by other law enforcement agents and

 7   confidential informants.   FRE 802 bars all such testimony by the affiant as
 8
     heresay.
 9
                                       E. Conclusion
10

11     Defendant respectfully moves the Court for an order requiring the Government

12   to refrain from mentioning and/or offering into evidence or soliciting any
13
     testimony from any witness, regarding any prior alleged activities of the
14
     Defendant, criminal or otherwise, prior to his return to the United States in June
15

16   of 2019. For the reasons set forth herein, any such testimony and evidence is

17   barred by FRE 403, FRE 404(b), FRE 602 and FRE 802.
18
       A proposed order is filed herewith.
19

20
     Dated: March 2, 2020            Respectfully Submitted,
21

22                                  s/Douglas E. McKinley, Jr.
23
                                    DOUGLAS E. MCKINLEY, JR., WSBA #20806
                                    Attorney for Defendant
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     Defendant Castillo’s Motion in Limine- 10
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                                  SERVICE CERTIFICATE
 1

 2     I certify that on March 2, 2020, I electronically filed the foregoing Defendant
 3   Castillo’s Motion in Limine with the District Court Clerk using the CM/ECF
 4
     System, which will send notification of such filing to the following:
 5

 6

 7                      Stephanie Van Marter, Attorney for Plaintiff
 8

 9

10                                   s/Douglas E. McKinley, Jr.
                                     DOUGLAS E. MCKINLEY, JR., WSBA #20806
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14

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     Defendant Castillo’s Motion in Limine- 11
